AO 257 (Rev. 6/78)          Case 3:21-cr-00097-CRB Document 22-1 Filed 03/09/21 Page 1 of 2

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                 INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                              SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                           SAN FRANCISCO DIVISION
 See Penalty Sheet Attachment                                        Petty

                                                                     Minor              DEFENDANT - U.S
                                                                                                                                             
                                                                     Misde-
                                                                                           WILLIAM F. GARLOCK
                                                                     meanor
                                                                                                                                             Mar 09 2021

                                                                     Felony                                                                 
                                                                                           DISTRICT COURT NUMBER                         
PENALTY:       See Penalty Sheet Attachment
                                                                                                                                         
                                                                                           &5&5%                                     



                                                                                                                     DEFENDANT
                              PROCEEDING                                                     IS NOT IN CUSTODY
                                                                                               Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                            1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                               summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                    2)       Is a Fugitive
       give name of court
                                                                                      3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                             IS IN CUSTODY
                                                                                      4)       On this charge
       this is a reprosecution of

                                                                                                                                }
       charges previously dismissed                                                   5)       On another conviction
       which were dismissed on motion                            SHOW                                                                     Federal           State


                                                        }
       of:                                                     DOCKET NO.
                                                                                      6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                         }
                                                                                                               Yes            If "Yes"
       pending case involving this same                                                    Has detainer
                                                                                                                              give date
       defendant                                              MAGISTRATE                   been filed?         No             filed


                                                        }
                                                               CASE NO.
       prior proceedings or appearance(s)                                                  DATE OF
                                                                                           ARREST
                                                                                                                     Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                       Or... if Arresting Agency & Warrant were not

                                                                                                                                    Month/Day/Year
Name and Office of Person
Furnishing Information on this form
                                                    STEPHANIE HINDS
                                                                                           DATE TRANSFERRED
                                                                                           TO U.S. CUSTODY
                                                                                                                         
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                          This report amends AO 257 previously submitted
Attorney (if assigned)                      Kyle F. Waldinger
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*               WARRANT          Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                * Where defendant previously apprehended on complaint, no new summons or
                                                                              warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:
         332 Robin Dr., Corte Madera, CA or 40 29th Street, SF, CA
                                                                              Date/Time: 3/12/2021, 1pm                  Before Judge: Marshals Svc. 20th fl.

        Comments: For processing at the U.S. Marshals Service
        Case 3:21-cr-00097-CRB Document 22-1 Filed 03/09/21 Page 2 of 2




                                 Penalty Sheet Attachment

Count One: Conspiracy to Commit Mail Fraud, 18 U.S.C. § 1349
Counts Two and Three: Mail Fraud and Aiding and Abetting, 18 U.S.C. §§ 1341 & 2
         x 20 years’ imprisonment
         x $250,000 fine or twice the gross gain or gross loss, whichever is greater
         x 3 years’ supervised release
         x $100 special assessment
         x Restitution
         x Forfeiture

Count Four: Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h)
Count Five: Money Laundering and Aiding and Abetting, 18 U.S.C. §§ 1956(a)(1)(B)(i) & 2
         x 20 years’ imprisonment
         x $500,000 fine or twice the value of the property involved in the transaction,
             whichever is greater
         x 3 years’ supervised release
         x $100 special assessment
         x Forfeiture

Forfeiture Allegations
